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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TEXAS
                                AUSTIN DIVISION

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
                  Plaintiff,              )            Civil Action No. 1:23-cv-00853
                                          )
            v.                            )
                                          )
GREG ABBOTT, in his capacity as GOVERNOR )
OF THE STATE OF TEXAS, and THE STATE OF )
TEXAS,                                    )
                                          )
                  Defendants.             )
__________________________________________)


I, Jennifer T. Pena, do declare as follows based on my personal knowledge, as well as
information provided to me in the course of my official duties:
1. This declaration supplements my declaration of July 25, 2023.
2. On July 27 and 28, 2023, the USIBWC and the MXIBWC conducted an on-site, joint
    (binational) topographic survey of the floating barrier that Texas deployed in the Rio
    Grande in the vicinity of Eagle Pass, Texas. Survey participants were Sidney Rouch
    (USIBWC), Adrian Vallejo (USIBWC), Dilaida Sanchez (USIBWC), John Claudio
    (USIBWC), and Roberto Enriquez (MXIBWC).
3. The joint survey recorded the locations of the buoys and concrete anchors of the line
    of buoys that Texas deployed approximately two miles downstream of the Camino
    Real International Bridge, in the vicinity of 28° 40’ 21” N, 100° 30’ 14” W. The
    survey horizontal datum was North American Datum of 1983, U.S. State Plane
    Coordinate system Texas South Central Zone, U.S. Survey feet. The survey vertical
    datum was North American Vertical Datum of 1988.
4. Exhibit A is a true and correct copy of the final survey data, including the locations
    of the buoys and the anchors that were recorded in the joint binational survey. The
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   first column in the spreadsheet is the survey point identification number. The second
   column is northing in feet. The third column is easting in feet. The fourth column is
   vertical ground elevation in feet. The fifth column describes the object surveyed
   (abbreviations used in this column are: TG is top ground, RB is river bank, NG is
   natural ground). The surveyors recorded the western (Mexico-facing) side of each
   buoy.
5. The survey data reflect that the total length of the floating barrier is approximately
   995 feet.
6. Pursuant to Article II of the 1970 Treaty, the International Boundary Line (IBL) in
   this region is “the middle of the channel occupied by normal flow,” as determined by
   the IBWC and updated after periodic surveys. Consistent with Article II(C) of the
   1970 Treaty, the IBWC records the official IBL on aerial photographic mosaics of
   the Rio Grande. Under Article 25 of the 1944 Treaty, IBWC decisions that delineate
   changes to the official IBL “shall be recorded in the form of Minutes.” The current
   IBL delineation was recorded in 2009 as Minute 315 (see https://www.ibwc.gov/wp-
   content/uploads/2023/04/Minute_315.pdf).
7. A comparison of the recorded locations of the buoys to the official IBL, as defined in
   Minute 315, establishes that approximately 208 feet of the buoy line (in the upstream
   portion of the buoy alignment) are located within the United States, whereas
   approximately 787 feet of the buoy line (in the downstream portion of the buoy
   alignment) are located within Mexico.
8. Exhibit B is a true and correct copy of a figure prepared by USIBWC that plots the
   recorded locations of the buoys and anchors of the line of buoys from the joint
   binational survey against an approximation of the IBL as delineated by Minute 315,
   with United States territory on the east (righthand) side of the boundary and Mexican
   territory on the west (lefthand) side of the boundary.
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Exhibit A to the Supplemental
Declaration of Jennifer T. Pena
                                                                   2001 13431604   1486343    675.33 BUOY MEXICO SIDE
                                                                   2002 13431592   1486344   675.193 BUOY MEXICO SIDE
                                                                   2003 13431577   1486342   675.177 BUOY MEXICO SIDE
                                                                   2004 13431562   1486340   675.243 BUOY MEXICO SIDE
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                                                                   2005 13431547   1486337    675.13 BUOY MEXICO SIDE
                                                                   2006 13431534   1486329    674.81 BUOY MEXICO SIDE
                                                                   2007 13431533   1486327   674.368 ANCHOR
                                                                   2008 13431518   1486329   674.787 BUOY MEXICO SIDE
                                                                   2009 13431502   1486332   674.878 BUOY MEXICO SIDE
                                                                   2010 13431487   1486336   674.744 BUOY MEXICO SIDE
                                                                   2011 13431472   1486341   674.878 BUOY MEXICO SIDE
                                                                   2012 13431457   1486344   674.979 BUOY MEXICO SIDE
                                                                   2013 13431442   1486347   674.755 BUOY MEXICO SIDE
                                                                   2014 13431427   1486350    674.78 BUOY MEXICO SIDE
                                                                   2015 13431412   1486352   674.425 BUOY MEXICO SIDE
                                                                   2016 13431396   1486354   674.969 BUOY MEXICO SIDE
                                                                   2017 13431381   1486357   674.857 BUOY MEXICO SIDE
                                                                   2018 13431366   1486361   674.736 BUOY MEXICO SIDE
                                                                   2019 13431351   1486365   674.831 BUOY MEXICO SIDE
                                                                   2020 13431336   1486369   674.917 BUOY MEXICO SIDE
                                                                   2021 13431320   1486372   674.774 BUOY MEXICO SIDE
                                                                   2022 13431306   1486374    674.83 BUOY MEXICO SIDE
                                                                   2023 13431290   1486377   674.841 BUOY MEXICO SIDE
                                                                   2024 13431274   1486381   674.672 BUOY MEXICO SIDE
                                                                   2025 13431259   1486385   675.078 BUOY MEXICO SIDE
                                                                   2026 13431243   1486389   675.058 BUOY MEXICO SIDE
                                                                   2027 13431228   1486393   675.043 BUOY MEXICO SIDE
                                                                   2028 13431213   1486398   674.614 BUOY MEXICO SIDE
                                                                   2029 13431197   1486403   674.621 BUOY MEXICO SIDE
                                                                   2030 13431182   1486408   674.832 BUOY MEXICO SIDE
                                                                   2031 13431167   1486412   674.802 BUOY MEXICO SIDE
                                                                   2032 13431152   1486417   674.757 BUOY MEXICO SIDE
                                                                   2033 13431137   1486422   674.655 BUOY MEXICO SIDE
                                                                   2034 13431122   1486427    674.86 BUOY MEXICO SIDE
                                                                   2035 13431107   1486432   674.577 BUOY MEXICO SIDE
                                                                   2036 13431092   1486438   674.607 BUOY MEXICO SIDE
                                                                   2037 13431077   1486443   674.545 BUOY MEXICO SIDE
                                                                   2038 13431062   1486448   674.399 BUOY MEXICO SIDE
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                                                                   2039 13431046   1486453   674.611 BUOY MEXICO SIDE
                                                                   2040 13431031   1486458   674.333 BUOY MEXICO SIDE
                                                                   2041 13431016   1486463   674.158 BUOY MEXICO SIDE
                                                                   2042 13431001   1486467   674.158 BUOY MEXICO SIDE
                                                                   2043 13430985   1486472   674.316 BUOY MEXICO SIDE
                                                                   2044 13430970   1486477    674.17 BUOY MEXICO SIDE
                                                                   2045 13430956   1486483   673.958 BUOY MEXICO SIDE
                                                                   2046 13430940   1486489   673.751 BUOY MEXICO SIDE
                                                                   2047 13430925   1486492   673.814 BUOY MEXICO SIDE
                                                                   2048 13430910   1486497   674.137 BUOY MEXICO SIDE
                                                                   2049 13430895   1486503   673.756 BUOY MEXICO SIDE
                                                                   2050 13430880   1486509   673.746 BUOY MEXICO SIDE
                                                                   2051 13430866   1486515   673.639 BUOY MEXICO SIDE
                                                                   2052 13430850   1486519   673.751 BUOY MEXICO SIDE
                                                                   2053 13430835   1486523   673.756 BUOY MEXICO SIDE
                                                                   2054 13430820   1486528   673.542 BUOY MEXICO SIDE
                                                                   2055 13430805   1486534   674.025 BUOY MEXICO SIDE
                                                                   2056 13430790   1486540   673.775 BUOY MEXICO SIDE
                                                                   2057 13430775   1486544   673.593 BUOY MEXICO SIDE
                                                                   2058 13430760   1486548   673.819 BUOY MEXICO SIDE
                                                                   2059 13430745   1486552   673.696 BUOY MEXICO SIDE
                                                                   2060 13430731   1486559   673.645 BUOY MEXICO SIDE
                                                                   2061 13430716   1486564   673.393 BUOY MEXICO SIDE
                                                                   2062 13430702   1486569    673.55 BUOY MEXICO SIDE
                                                                   2063 13430686   1486573   674.276 BUOY MEXICO SIDE
                                                                   2064 13430672   1486578   673.423 BUOY MEXICO SIDE
                                                                   2065 13430657   1486583   673.098 BUOY MEXICO SIDE
                                                                   2066 13430646   1486584   674.182 BUOY MEXICO SIDE
                                                                   2067 13430646   1486585   672.846 BUOY MEXICO SIDE
                                                                   2068 13430644   1486588   673.217 BUOY MEXICO SIDE
                                                                   2069 13430647   1486589   673.869 BUOY US SIDE
                                                                   2070 13430656   1486590   674.903 ANCHOR #2
                                                                   2071 13430741   1486561   675.433 ANCHOR #2 1.0 DIA
                                                                   2072 13430749   1486560   675.712 ANCHOR #1 4X2
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                                                                   2073 13430773   1486553   675.399 ANCHOR #1 4X2
                                                                   2074 13430798   1486546   675.984 ANCHOR #1 4X2
                                                                   2075 13430798   1486543   675.839 ANCHOR #2 1.0 DIA
                                                                   2076 13430816   1486539   675.733 ANCHOR #1
                                                                   2077 13430828   1486533   675.774 'ANCHOR #2 1.0 DIA
                                                                   2078 13430840   1486530   675.844 'ANCHOR #1
                                                                   2079 13430865   1486522   676.006 'ANCHOR #1
                                                                   2080 13430871   1486521   675.847 'ANCHOR #2
                                                                   2081 13430896   1486510   675.679 'ANCHOR #1
                                                                   2082 13430901   1486507   675.924 'ANCHOR #2
                                                                   2083 13430920   1486501   675.792 'ANCHOR #1
                                                                   2084 13430947   1486493   675.698 'ANCHOR #2
                                                                   2085 13430970   1486485   675.785 'ANCHOR #1
                                                                   2086 13430977   1486482   675.943 'ANCHOR #2
                                                                   2087 13430994   1486477   676.098 'ANCHOR #1
                                                                   2088 13431023   1486468    676.06 'ANCHOR #2
                                                                   2089 13431046   1486460   676.158 'ANCHOR #1
                                                                   2090 13431054   1486458   676.374 'ANCHOR #2
                                                                   2091 13431071   1486453   676.303 'ANCHOR #1
                                                                   2092 13431095   1486444   676.433 'ANCHOR #1
                                                                   2093 13431101   1486442   676.326 'ANCHOR #2
                                                                   2094 13431122   1486435   676.343 'ANCHOR #1
                                                                   2095 13431130   1486432     676.4 'ANCHOR #2
                                                                   2096 13431146   1486427   676.511 'ANCHOR #1
                                                                   2097 13431170   1486420   676.467 'ANCHOR #1
                                                                   2098 13431176   1486418   676.445 'ANCHOR #2
                                                                   2099 13431198   1486412   676.264 'ANCHOR #1
                                                                   2100 13431205   1486409   676.428 'ANCHOR #2
                                                                   2101 13431222   1486405   676.427 'ANCHOR #1
                                                                   2102 13431247   1486397   676.253 'ANCHOR #1
                                                                   2103 13431252   1486395   676.559 'ANCHOR #2
                                                                   2104 13431274   1486388   676.295 'ANCHOR #1
                                                                   2105 13431282   1486388   676.458 'ANCHOR #2
                                                                   2106 13431299   1486383   676.408 'ANCHOR #1
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                                                                   2107 13431324   1486378   676.326 'ANCHOR #1
                                                                   2108 13431329   1486377   676.399 'ANCHOR #2
                                                                   2109 13431352   1486370   676.451 'ANCHOR #1
                                                                   2110 13431356   1486369    676.41 'ANCHOR #2
                                                                   2111 13431377   1486366   676.368 'ANCHOR #1
                                                                   2112 13431402   1486360   676.687 'ANCHOR #1
                                                                   2113 13431406   1486361   676.459 'ANCHOR #2
                                                                   2114 13431427   1486354   676.245 'ANCHOR #1
                                                                   2115 13431437   1486355   676.402 'ANCHOR #2
                                                                   2116 13431452   1486350   676.738 'ANCHOR #1
                                                                   2117 13431477   1486344   676.556 'ANCHOR #1
                                                                   2118 13431481   1486344    676.54 'ANCHOR #2
                                                                   2119 13431503   1486340   676.362 'ANCHOR #1
                                                                   2120 13431508   1486339   676.617 'ANCHOR #2
                                                                   2121 13431529   1486337   676.748 'ANCHOR #1
                                                                   2122 13431549   1486344   676.498 'ANCHOR #2
                                                                   2123 13431553   1486344   676.761 'ANCHOR #1
                                                                   2124 13431577   1486347   676.844 'ANCHOR #1
                                                                   2125 13431583   1486350   676.776 'ANCHOR #2
                                                                   2126 13431602   1486349   676.716 'ANCHOR #1
                                                                   2127 13431628   1486351   676.407 'ANCHOR #1
                                                                   2128 13431654   1486352   676.844 'ANCHOR #1
                                                                   2129 13431679   1486348   676.958 'ANCHOR #1
                                                                   2130 13431704   1486342   676.943 'ANCHOR #1
                                                                   2131 13431676   1486331   676.548 'ANCHOR #1
                                                                   2132 13431651   1486335   676.488 'ANCHOR #1
                                                                   2133 13431653   1486380   676.579 TG
                                                                   2134 13431617   1486395   676.518 TG
                                                                   2135 13431474   1486439   676.028 TG
                                                                   2136 13431331   1486478   675.989 TG
                                                                   2137 13431184   1486517   675.829 TG
                                                                   2138 13431042   1486555   675.321 TG
                                                                   2139 13430898   1486604    672.71 TG
                                                                   2242 13430755   1486640   672.015 TG
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                                                                   2140 13431607   1486466   675.285 TG
                                                                   2141 13431493   1486516   674.947 TG
                                                                   2142 13431345   1486551   672.642 TG
                                                                   2143 13431189   1486588   672.456 TG
                                                                   2144 13431601   1486303   676.238 ANCHOR #1
                                                                   2145 13431576   1486309   676.211 ANCHOR #1
                                                                   2146 13431518   1486312    675.96 ANCHOR #1
                                                                   2147 13431494   1486317   676.113 ANCHOR #1
                                                                   2148 13431446   1486329   676.408 ANCHOR #1
                                                                   2149 13431422   1486335   676.277 ANCHOR #1
                                                                   2150 13431369   1486340   676.395 ANCHOR #1
                                                                   2151 13431345   1486348   676.338 ANCHOR #1
                                                                   2152 13431289   1486357   676.527 ANCHOR #1
                                                                   2153 13431265   1486365   676.259 ANCHOR #1
                                                                   2154 13431217   1486386    676.43 ANCHOR #1
                                                                   2155 13431193   1486395   676.608 ANCHOR #1
                                                                   2156 13431141   1486411   676.252 ANCHOR #1
                                                                   2157 13431116   1486419   676.312 ANCHOR #1
                                                                   2158 13431065   1486435    676.05 ANCHOR #1
                                                                   2159 13431041   1486444   676.098 ANCHOR #1
                                                                   2160 13430991   1486462   675.874 ANCHOR #1
                                                                   2161 13430966   1486471   675.547 ANCHOR #1
                                                                   2162 13430913   1486488   675.485 ANCHOR #1
                                                                   2163 13430889   1486497   675.444 ANCHOR #1
                                                                   2164 13430836   1486514   675.449 ANCHOR #1
                                                                   2165 13430811   1486521   675.219 ANCHOR #1
                                                                   2166 13430762   1486539   675.203 ANCHOR #1
                                                                   2167 13430738   1486547     675.1 ANCHOR #1
                                                                   2168 13430725   1486556   675.127 ANCHOR #1
                                                                   2169 13430700   1486563   675.279 ANCHOR #1
                                                                    2170 13431474   1486555   689.773 2000 CHK IN
                                                                    2171 13431703   1486452   675.578 RB
                                                                    2172 13431608   1486473   675.805 RB
                                                                    2173 13431510   1486507    675.55 RB
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                                                                    2174 13431417   1486549   673.607 RB
                                                                    2175 13431416   1486543   672.448 NG
                                                                    2176 13431323   1486571   672.197 RB
                                                                    2177 13431224   1486594   672.305 RB
                                                                    2178 13431132   1486631    673.32 RB
                                                                    2179 13431036   1486660   673.848 RB
                                                                    2180 13430945   1486693   674.412 RB
                                                                    2181 13430846   1486725   674.477 RB
                                                                    2182 13430751   1486753    674.06 RB
                                                                    2183 13430659   1486796   674.872 RB
                                                                    2184 13430564   1486827    674.78 RB
                                                                    2185 13430532   1486732   672.671 NG
                                                                    2186 13430627   1486701   673.436 NG
                                                                    2187 13430722   1486669   672.394 NG
                                                                    2188 13430817   1486639   672.204 NG
                                                                    2189 13430912   1486608   672.785 NG
                                                                    2190 13431007   1486576   674.172 NG
                                                                    2191 13431197   1486513   675.741 NG
                                                                    2192 13431292   1486482   675.748 NG
                                                                    2193 13431387   1486451   675.667 NG
                                                                    2194 13431482   1486419   675.927 NG
                                                                    2195 13431577   1486389   675.896 Line0042
                                                                    2196 13431672   1486358   675.456 NG
                                                                    2197 13431681   1486376   677.537 NG ISLAND
                                                                    2198 13431689   1486382   678.088 NG ISLAND
                                                                    2199 13431703   1486387   678.354 NG ISLAND
                                                                    2200 13431717   1486384   678.943 NG ISLAND
                                                                    2201 13431726   1486385   679.105 NG ISLAND
                                                                    2202 13431729   1486391   679.319 NG ISLAND
                                                                    2203 13431729   1486401   678.782 NG ISLAND
                                                                    2204 13431710   1486403   679.174 NG ISLAND
                                                                    2205 13431680   1486410    678.36 NG ISLAND
                                                                    2206 13431654   1486416    678.43 NG ISLAND
                                                                    2207 13431634   1486421   677.714 NG ISLAND
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                                                                    2208 13431613   1486426   677.035 NG ISLAND
                                                                    2209 13431605   1486427   677.139 NG ISLAND
                                                                    2210 13431612   1486409   677.069 NG ISLAND
                                                                    2211 13431637   1486407   677.657 NG ISLAND
                                                                    2212 13431656   1486400   678.216 NG ISLAND
                                                                    2213 13431670   1486384   678.333 NG ISLAND
                                                                    2214 13431609   1486168   673.989 NG
                                                                    2215 13431514   1486199   674.692 NG
                                                                    2216 13431419   1486230   674.865 NG
                                                                    2217 13431325   1486261   674.808 NG
                                                                    2218 13431230   1486292   674.495 NG
                                                                    2219 13431135   1486324   673.984 NG
                                                                    2220 13431039   1486355     673.7 NG
                                                                    2221 13430945   1486386   673.749 NG
                                                                    2222 13430849   1486417   674.135 NG
                                                                    2223 13430754   1486448    674.05 NG
                                                                    2224 13430660   1486479   674.344 NG
                                                                    2225 13430565   1486511   674.898 NG
                                                                    2226 13430470   1486542   674.346 NG
                                                                    2227 13430501   1486637   673.521 NG
                                                                    2228 13430596   1486607   673.045 NG
                                                                    2229 13430461   1486516   675.243 RB
                                                                    2230 13430550   1486493   675.176 RB
                                                                    2231 13430654   1486461   674.079 RB
                                                                    2232 13430747   1486426   674.992 RB
                                                                    2233 13430838   1486382   675.344 RB
                                                                    2234 13430939   1486344   674.603 RB
                                                                    2235 13431026   1486313   674.481 RB
                                                                    2236 13431118   1486278   674.263 RB
                                                                    2237 13431205   1486245   675.427 RB
                                                                    2238 13431306   1486205   675.018 RB
                                                                    2239 13431410   1486160   675.944 RB
                                                                    2240 13431498   1486133   675.758 RB
                                                                    2241 13431582   1486103   675.031 RB
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Exhibit B to the Supplemental
Declaration of Jennifer T. Pena
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